                                IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO

                                     CIVIL NO. CIVIL 19-1242(WGY)
     D&Z AUCTION RESELLERS, LLC AND
     GUSTAVO A. MORENO PONCE        COPYRIGHT INFRINGEMENT
     Plaintiffs                                                 DIGITAL MILLENIUM ACT
     V.                                                         COMPUTER FRAUD AND ABUSE
     MEDIA DATA CORPORATION, et als

     Defendants



    MOTION OF FARMACIA LOS ANGELES DE ISABELA LLC, ISLOTE DRUG, INC,
    FARMACIA CUQUIMAR, INC. AND CARMEN REMIGIO KUILIAN Y PEDRO J.
      KUILAN MARRERO, DBA FARMACIA DORADO TO STRIKE AMENDED
                             COMPLAINT

TO THE HONORABLE COURT:

           COME NOW Farmacia Los Angeles de Isabela Llc, Islote Drug, Inc, Farmacia Cuquimar,

Inc., Carmen Remigio Kuilian y Pedro J. Kuilan Marrero, DBA Farmacia Dorado Farmacia

Cuquimar, Inc., through their undersigned attorneys and very respectfully states, alleges and prays:

           1. The appearing parties filed a motion to dismiss on August 30, 2019. When the 21-day

period to amend the complaint of Rule 15 expired and no amendment has been presented nor had

plaintiff requested an extension of time to oppose said motion. Hence, the appearing parties requested

from the Honorable Court that it decide the motion to dismiss without opposition by plaintiffs.

           2. Confronted with the motion to dismiss and a request for the decision of the motion to

dismiss, plaintiff filed a motion for extension of time to answer the motion to dismiss1, which was

granted. Plaintiff opposed the motion to dismiss and stated that it would amend the complaint but did



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    Plaintiff did not seek leave to amend the complaint in this motion.
not seek leave to amend said complaint. Hence, the Honorable Court did not issue an order granting

leave to amend the complaint. The appearing parties filed a motion requesting leave to file a reply,

which is still pending.

        3. Rule 15(a)(1)(B) provides plaintiff the absolute right to amend a complaint within 21

days after service of a Rule 12(b) motion. The 21-day period here expired on September 20, 2019

without any amendment by plaintiff. As stated before, plaintiff may amend the complaint at this

time with leave of Court but has failed to request such leave. The First Circuit, in Steir v. Girl

Scouts of the USA, 383 F.3d 7, 11-12 (1st Cir. 2004), stated as follows:

        A motion to amend a complaint will be treated differently depending on its timing
        and the context in which it is filed. A plaintiff is permitted to amend a complaint
        once as a matter of right prior to the filing of a responsive pleading by the defendant.
        Fed.R.Civ.P. 15(a). Thereafter, the permission of the court or the consent of the
        opposing party is required.

        4. Since the 21-days of Rule 15(a)(1)(B) has expired without an amended complaint and

plaintiff has failed to seek permission from the Court, the amended complaint must be stricken

from the record. If the Court were to allow said amendment, the appearing parties reserve the right

to file a motion to dismiss the amended complaint.

        WHEREFORE: The appearing parties respectfully request from the Honorable Court that

strike the amended complaint for the reasons stated here.

        CERTIFICATE OF SERVICE: That on this same date, a copy of this motion has been sent

to all parties through the CM/ECF system.




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     Respectfully submitted on this 7th of October, 2019.



/s John E. Mudd                                        /s John A. Stewart
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